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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Rusthoven Enterprises LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Phil Robin Landscapes
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  165 E North Ave.                                                9541 Witham
                                  Villa Park, IL 60181                                            Woodridge, IL 60517
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  DuPage                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.philrobin.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Rusthoven Enterprises LLC                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                2389

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     Landscape Consultants, Inc.                                  Relationship             Affiliate
                                                            Northern District of
                                                 District   Illinois                      When    3/24/21                Case number, if known    TBD
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Debtor   Rusthoven Enterprises LLC                                                   Case number (if known)
         Name




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Debtor   Rusthoven Enterprises LLC                                                               Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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 Fill in this information to identify the case:
 Debtor name Rusthoven Enterprises LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                            Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Department of the                                                                      Contingent                                                                           Unknown
 Treasury                                                                               Unliquidated
 Internal Revenue                                                                       Disputed
 Service
 PO Box 7346
 Philadelphia, PA
 19101
 Illinois Department                                                                    Contingent                                                                           Unknown
 of Revenue                                                                             Unliquidated
 Bankruptcy Unit                                                                        Disputed
 P O Box 19035
 Springfield, IL 62794
 Illinois Dept. of                                                                      Contingent                                                                           Unknown
 Employment Sec.                                                                        Unliquidated
 Benefit Payment                                                                        Disputed
 Control Division
 P O Box 4385
 Chicago, IL 60680




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                         RESOLUTION
                                                of
                             RUSTHOVEN ENTERPRISES LLC
                            (an Illinois Limited Liability Company)

                                 Effective as of March 25, 2021

       The undersigned, in their respective capacities as managers (the “Managers”) of
Rusthoven Enterprises LLC, an Illinois limited liability company (the “Company”), hereby
consent in writing to the following resolutions.

        WHEREAS, the Managers have considered the financial and operational aspects of the
Company’s business and the recommendations of the Company’s professionals and advisors, and
adopts the following resolutions by written consent;

         NOW, THEREFORE, BE IT RESOLVED, that, in the judgment of the Managers, it is
desirable and in the best interest of the Company, its creditors, equity holders, and other
interested parties to file a petition (the “Petition”) seeking relief under chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court in the
district as determined to be appropriate by the Authorized Officer (as defined herein) upon the
advice of counsel (the “Bankruptcy Court”);

       RESOLVED FURTHER, that the Petition is adopted in all respects. Brian R. Rusthoven
(the “Authorized Agent”) is hereby authorized and directed, on behalf of the Company, to
execute the Petition or authorize the execution of a filing of the Petition by the Company and to
cause the same to be filed with the Bankruptcy Court at such time as the Authorized Agent
considers it appropriate;

        RESOLVED FURTHER, that the Authorized Agent shall be, and hereby is, authorized,
directed, and empowered on behalf of and in the name of the Company to execute, verify, and
cause to be filed such requests for relief from the Bankruptcy Court as the Authorized Agent may
deem necessary, proper, or desirable in connection with the Petition, with a view to successful
prosecution thereunder;

        RESOLVED FURTHER, that the Authorized Agent is authorized to execute and file on
behalf of the Company all petitions, schedules, lists, and other motions, papers, or documents,
and to take any and all action that it deems necessary or proper to obtain appropriate relief for the
Company, including, without limitation, any action necessary to maintain the ordinary course
operation of the Company’s business;

       RESOLVED FURTHER, that the law firm of Levenfeld Pearlstein, LLC shall be, and
hereby is, employed as general bankruptcy counsel for the Company in the Company’s chapter
11 case;

       RESOLVED FURTHER, that the Authorized Agent is authorized and empowered on
behalf of, and in the name of, the Company to retain and to employ other attorneys, brokers,
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                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Rusthoven Enterprises LLC                                                                 Case No.
                                                                                  Debtor(s)           Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Rusthoven Enterprises LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




 March 25, 2021                                                        /s/ Harold D. Israel
 Date                                                                Harold D. Israel
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Rusthoven Enterprises LLC
                                                                     Levenfeld Pearlstein, LLC
                                                                     2 N. LaSalle St.
                                                                     Suite 1300
                                                                     Chicago, IL 60602
                                                                     312-346-8380
                                                                     hisrael@lplegal.com




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                      A & W Trailer
                      17 W 411 N Frontage Rd
                      Darien, IL 60561


                      AAA Garage Door
                      330 W Stone
                      Villa Park, IL 60181


                      AT&T
                      PO Box 6416
                      Carol Stream, IL 60197


                      Barclays
                      PO Box 60517
                      City of Industry, CA 91716


                      Buttrey Rental
                      216 W Ogden
                      Westmont, IL 60559


                      Cedar Path Nursery
                      15235 W Bruce Road
                      Homer Glen, IL 60491


                      Central Sod
                      25605 W 111th
                      Plainfield, IL 60585


                      Central Turf & Irrigation
                      960 N. Ridge
                      Lombard, IL 60148


                      City of Oak Brook Terrace
                      17W275 Butterfield Rd
                      Villa Park, IL 60181


                      Clarendon Hardware
                      15 S Prospect
                      Clarendon Hills, IL 60514


                      Commercial Lawn Mower Repair
                      735 N Yale
                      Villa Park, IL 60181
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                  Cook County Collector
                  69 West Washington, Suite 2830
                  Chicago, IL 60602


                  CSC
                  PO Box 13397
                  Philadelphia, PA 19101


                  Dawson Tree Service
                  PO Box 1363
                  Elmhurst, IL 60126


                  Department of the Treasury
                  Internal Revenue Service
                  PO Box 7346
                  Philadelphia, PA 19101


                  Distant Horizons
                  PO Box 574
                  Frankfort, IL 60423


                  DK Organics
                  725 N Skokie Highway
                  Lake Bluff, IL 60044


                  Domain Listings
                  PO Box 19607
                  Las Vegas, NV 89132


                  Donegal Excavating
                  13011 Grant Rd
                  Lemont, IL 60439


                  DuPage County Treasurer
                  421 N. County Farm Road
                  Wheaton, IL 60187


                  Fiore Nursery
                  16606 W Highway 22
                  Lincolnshire, IL 60069


                  Fox Valley Excavating
                  4503 Duncan Ct
                  Naperville, IL 60564
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                  Frank Gentile
                  100 E North Ave
                  Villa Park, IL 60181


                  Gary Galassi Stone
                  44 Devonwood Ave
                  Romeoville, IL 60446


                  Grange Insurance
                  PO Box 88017
                  Chicago, IL 60680


                  Groot Disposal
                  PO Box 535233
                  Pittsburgh, PA 15253


                  Henry Rosedale
                  3 N 770 Woodland
                  West Chicago, IL 60185


                  Hinsdale Nursery
                  7200 S. Madison St
                  Willowbrook, IL 60527


                  Homer Industries
                  14000 Archer
                  Lockport, IL 60441


                  Illinois Department of Revenue
                  Bankruptcy Unit
                  P O Box 19035
                  Springfield, IL 62794


                  Illinois Dept of Agriculture
                  Bureau of Environmental Programs
                  2280 Bethany Road, Suite B
                  DeKalb, IL 60115


                  Illinois Dept of Public Health
                  535 W Jefferson St
                  Springfield, IL 62761
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                  Illinois Dept. of Employment Sec.
                  Benefit Payment Control Division
                  P O Box 4385
                  Chicago, IL 60680


                  Illinois Landscape Supply
                  60 Wolf Road
                  Oswego, IL 60543


                  Illinois Tollway Authority
                  PO Box 5544
                  Chicago, IL 60680


                  Jaso Enterprises
                  10161 49th St N - Unit W
                  Pinellas Park, FL 33782


                  Jesse Auto Repair
                  335 W Stone Villa
                  Villa Park, IL 60181


                  Kieft Bros
                  837 S. Riverside Dr
                  Elmhurst, IL 60126


                  Lurveys
                  2550 E Dempster
                  Des Plaines, IL 60016


                  Meno Stone
                  10800 Rt 83
                  Lemont, IL 60439


                  Midwest Groundcovers
                  PO Box 748
                  Clarendon Hills, IL 60514


                  Quick Attach Attachments LLC
                  PO Box 860490
                  Minneapolis, MN 55486


                  Railroad Maint & Indust. Health Fun
                  2725 W Monroe
                  Springfield, IL 62704
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                  Railroad Maint & Industrial Health
                  2725 W Monroe
                  Springfield, IL 62704


                  Russo's
                  9525 W Irving Park
                  Schiller Park, IL 60176


                  Schomig Land Surveyors
                  909 E. 31st St
                  La Grange Park, IL 60526


                  Sid Kamp Trucking
                  8118 W. 189th St
                  Mokena, IL 60448


                  Simple Sanitation
                  PO Box 491
                  Elmhurst, IL 60126


                  State Disbursement Unit
                  PO Box 5400
                  Carol Stream, IL 60197


                  Sub Trailer Service
                  415 E. St
                  Villa Park, IL 60181


                  T & C
                  3900 W. 167th St.
                  Markham, IL 60428


                  Tarp Supply Inc
                  266 Eisenhower Lane N
                  Lombard, IL 60148


                  Travelers Insurance
                  PO Box 660317
                  Dallas, TX 75266


                  Vermeer Midwest
                  2801 Beverly
                  Aurora, IL 60502
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                  Village of Villa Park
                  20 Ardmore Ave
                  Villa Park, IL 60181


                  Village of Western Springs
                  740 Hillgrove Ave.
                  Western Springs, IL 60558


                  Village of Willowbrook
                  835 Midway Drive
                  Willowbrook, IL 60527


                  Westmore Supply
                  250 Westmore Meyers Rd
                  Lombard, IL 60148


                  Wilson Nursery
                  26W200 Lake St
                  Hanover Park, IL 60133
